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                              EXHIBIT A


               To Declaration of Micah West in Support of
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